85 F.3d 617
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Gracie Garner JENKINS, Defendant-Appellant.
    No. 95-7895.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 15, 1996.Decided:  April 29, 1996.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Elizabeth City.  Terrence W. Boyle, District Judge.  (CR-94-20, CA-95-20-1-2-BO)
      Gracie Garner Jenkins, Appellant Pro Se.  Jane H. Jolly, Assistant United States Attorney, Raleigh, NC, for Appellee.
      E.D.N.C.
      AFFIRMED.
      Before ERVIN and MOTZ, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying her motions to receive credit for time served on bond and to recalculate her sentence.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   United States v. Jenkins, Nos.  CR-94-20;  CA-95-20-1-2-BO (E.D.N.C. Oct. 18, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    